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                              UNITED STATES DISTRICT COURT
                                   Southern District of Indiana
                                          Laura A. Briggs

                                         Clerk of the Court
  46 East Ohio Street, Room 105                                         101 Northwest MLK Boulevard
  Indianapolis, Indiana                                                           Evansville, Indiana
  46204                                                                                         47708
  921 Ohio Street                                                              121 West Spring Street
  Terre Haute, Indiana                                                          New Albany, Indiana
  47807                                                                                       47150


                                                September 24, 2018
                                                Re: ROSS v. BALL STATE UNIVERSITY
                                                Cause Number: 1:18−cv−01258−JRS−TAB

  TO ALL COUNSEL OF RECORD:

         Pursuant to Local Rule 40−1(f), the above matter was reassigned from Judge
  William T. Lawrence to Judge James R. Sweeney II on September 24, 2018. The cause
  number has been changed to reflect the newly assigned Judge. Please note that cause
  number 1:18−cv−01258−JRS−TAB must be used on all future filings.

          All case schedules and deadlines before the District Judge and Magistrate Judge
  remain unchanged at this time, including hearing, conference, and trial dates. In the event
  that any calendared dates must be vacated and reassigned, the parties will receive notice by
  separate order.

                                                  Sincerely,
                                                  Laura A. Briggs, Clerk of Court


                                                  By: s/Wonmi Koh
                                                  Wonmi Koh, Deputy Clerk
